                      Case 1:23-cr-00305-RDM Document 1 Filed 03/27/23 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of Columbia
                 United St.at.es of America                         )
                              V.                                    )
                                                                    )      Case No.
                      Joseph Fisher
                                                                    )
                     DOB:XXXXXX                                     )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
        I, the complainant. in this case, state that the following is trne to the best of my knowledge and belief.
On or about the date(s) of              January 6, 2021                in the county of         United States            in the
                         in the Distiict of       Columbia      , the defendant(s) violated:
            Code Section                                                     Offense Description
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder
        18 U.S.C. § 111(a)(1) - Assaulting, Resisting, or Impeding Certain Officers or Employees
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds
        Without Lawful Authority
        18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds
        18 U.S.C. § 1752(a)(4) - Engaging in Physical Violence in a Restricted Building or Grounds.
        40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct on Capitol Grounds
        40 U.S.C. § 5104(e)(2)(F)- Act of physical violence in the Capitol Grounds or Capitol Buildings
        40 U.S.C. § 5104(e)(2)(G)- Parading, demonstrating, or picketing in any of the Capitol Buildings
         This criminal complaint is based on these facts:
  See attached statement of facts.


         N Continued on the attached sheet.


                                                                                               Complainant's signature




Attested to by the applicant in accordance with the requirements of Fed. R. C1im. P. 4.1
by telephone.
                                                                                                          2023.03.27
Date:            03/27/2023                                                                               12:09:51 -04'00'
                                                                                                 Judge's signature

City and state:                         Washington, D.C.                          Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
